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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

ERMELINDA RODRIQUEZ                                  §
    Plaintiff,                                       §
                                                     §               CIVIL ACTION NO.
v.                                                   §
                                                     §               6:19-CV-00374
PREM CHOHAN and ALLSTATE                             §
FREIGHT SYSTEMS, INC.                                §
     Defendants.                                     §

                          PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       PLAINTIFF ERMELINDA RODRIQUEZ, (hereinafter referred to as "Plaintiff"), files this

Original Complaint against Defendant PREM CHOHAN (hereinafter referred to as “Defendant

Chohan”) and ALLSTATE FREIGHT SYSTEMS, INC. (hereinafter referred to as “Defendant

Allstate Freight”) referred to collectively as ("Defendants"), and in support of this pleading would

show the Court as follows:

                                                 I
                                    NATURE OF THE ACTION

1.     This case is a vehicle versus 18-wheeler crash in which Mrs. Rodriguez was injured and

       sought out medical treatment, including a surgery to her back.

                                               II.
                                             PARTIES


2.     Plaintiff Ermelinda Rodriquez is a resident of Garland, Dallas County, Texas. The last three

       digits of Plaintiff’s social security number are 192.

3.     Defendant Prem Chohan is an individual residing in Canada who may be served with

       process at his place of abode at 17 MacDougall Drive, Brampton, Ontario Canada, L6S

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      3P4, or wherever found. The last three digits of his driver’s license are 31K and the last

      three digits of his social security number are unknown.

4.    Defendant Allstate Freight Systems, Inc. is a transportation, Motor Carrier Company out

      of Canada, who is authorized to do business in the State of Texas and may be served with

      process by serving it’s agent for service in Texas, Jeffrey Fultz, at 10343 Sam Houston

      Park Drive, #210, Houston, Texas 77064-4656.

5.    Thus, the exercise of jurisdiction over Defendant Allstate and Chohan does not offend

      traditional notions of fair play and substantial justice.

                                               III.
                                          JURISDICTION

6.    This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332(a). No

      Defendant is a citizen of the same state as Plaintiff and the amount in controversy exceeds

      $75,000, exclusive of interest and costs.

7.    The present action is a civil action between Plaintiff who is a resident and citizens of Texas,

      and Defendant Allstate Freight Systems, Inc., which is a citizen of, is incorporated in,

      and/or has its principal place of business in, a state other than the State of Texas,

      specifically Canada.     Defendant Allstate Freight Systems, Inc. maintains a registered

      agent for service in Texas.

8.    Defendant Prem Chohan is a citizen of a state other than the State of Texas, specifically

      Canada.

9.    This Court has general and personal jurisdiction over Defendant Allstate Freight Systems,

      Inc. because this Defendant: (1) conducts business in, and engages in foreseeable,

      intentional, continuous, and/or systematic contacts within Texas, and specifically within

      the Western District of Texas – Waco Division; and/or (2) committed torts, in whole or in
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      part, within Texas, and specifically within the Western District of Texas – Waco Division,

      and said torts give rise to this action.

                                                 IV.
                                      JURISDICTION/VENUE


10.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2). A substantial part of

      the acts or omissions giving rise to the claims occurred within the Western District of

      Texas, McClennan County, Texas.

                                        V.
               FACTUAL PREDICATE GIVING RISE TO PLAINTFF’S CAUSES OF ACTION

11.   On or about June 21, 2017, at approximately 7:30 p.m., Defendant and Plaintiff were

      driving southbound in the 1700 block of IH 35 service road in Bellmead, McLennan

      County, Texas. Defendant Prem Chohan exited Interstate 35 and started over from the

      left lane into the middle lane, striking the Plaintiff’s vehicle in the right quarter panel.

12.   Defendant Prem Chohan exited Interstate 35 and started over from the left lane into the

      middle lane, striking the Plaintiff’s vehicle in the right quarter panel.     Defendant Prem

      Chohan was driving a white International 18 wheel, semi-truck with a trailer, Defendant

      failed to control his speed, failed to make a proper lane change and crashed into the Plaintiff

      causing serious damages and injuries.

13.   Defendant Chohan was employed by and in the course and scope of his employment, and

      driving for Defendant Allstate Freight Systems at the time of the crash.

14.   Defendant operated the vehicle negligently and carelessly, causing a collision with Plaintiff

      that damaged Plaintiff’s vehicle and physically injured the Plaintiff.




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                                                VI.
      COUNT 1: NEGLIGENCE CAUSE OF ACTION AGAINST DEFENDANT PREM CHOHAN


15.    Defendant Chohan did not conduct himself as an ordinary prudent person would have done

       in the same or similar circumstances.    Defendant Chohan proximately caused the alleged

       incident and Plaintiff’s resulting injuries and damages in the following respects:

          a. In failing to keep such a lookout as a person of ordinary prudence would have

              kept under the same or similar circumstances;

          b. driver inattention;

          c. In violating TEX. TRANS. CODE ANN. § 545.351, by driving his vehicle at a

              speed that was greater than what was reasonable and prudent under the

              conditions and having regard for actual and potential hazards that existed,

              failed to control the speed of her vehicle as necessary to avoid the collision

              with the Plaintiffs;

          d. In failing to timely stop his vehicle to avoid the collision;

          e. In failing to control his speed;

          f. In changing lanes when unsafe;

          g. Failure to yield the right of way in a safe and prudent manner, such as a

              person of ordinary care would have done under the same or similar

              circumstances;

          h. Failure to adhere to and follow the Texas Commercial Motor Vehicle Driver’s

              Handbook and/or the Federal Motor Carrier Safety Regulations;

          i. Failure to obtain the necessary training, education, and knowledge to safely

              operate the rig and trailer in question; and

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           j. In failing to maintain an assured distance between his vehicle and other

               vehicles so that, considering the speed of the vehicles, traffic and the

               conditions of the highway, so he could safely stop without colliding with

               Plaintiff’s or any other vehicle, see TEX. TRANS. CODE ANN. §545.062 (a).

16.     Each of these acts and omissions, singularly or in combination with others, constitute

        negligence and negligence per se and proximately caused the occurrence made the

        basis of this action and Plaintiff’s injuries and damages.

                                           VII.
                            RESPONDEAT SUPERIOR/ PERMISSIVE USE

17.     Plaintiff would show that on the date in question, Defendant Chohan was a permissive user

        of the vehicle in question and was employed by and driving with the permission and

        knowledge of Defendant Allstate Freight.

18.     Whenever in this Petition it is alleged that Defendant Chohan did or failed to do any

        particular act and/or omission, it is meant that Defendants, acting individually, or by

        and through agents, officers, directors, servants, employees, and/or statutory

        employees either did or failed to do that particular act and/or omission, in the course

        and scope of his employment, agency or contract with Defendant Allstate Freight

        Systems, and in the furtherance of Defendant’s business.

                                       VIII.
      COUNT 2: NEGLIGENCE CAUSE OF ACTION AGAINST DEFENDANT ALLSTATE FREIGHT
                                     SYSTEMS

19.     Defendant Allstate Freight did not conduct itself as an ordinary prudent company would

        have done in the same or similar circumstances.      The occurrence made the basis of this

        suit, and the resulting injuries and damages were proximately caused by the negligent, and


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      negligent per se, conduct of Defendant Allstate Freight in one or more of the following

      respects:

      a. In failing to properly train and educate the driver to safely operate the rig and

          trailer in question;

      b. Failing to conduct a reasonable and adequate interview of Defendant Chohan as a

          potential employee.

      c. Failure to conduct a proper employment and background check of Defendant

          Chohan; and

      d. Failure to sufficiently investigate Defendant Chohan’s training, criminal record,

          documentation, and past driving records prior to employment,

      e. Failure to adopt proper policies and procedures regarding the interview of a

          potential employee who would be driving a rig and trailer on the roadways of the

          State of Texas.

20.   Such other and further acts of negligence as may be shown in the trial of this cause as

      discovery progresses.

                                            IX.
                                 ACTUAL DAMAGES OF PLAINTIFF

21.   As a result of the Defendants’ actions and the Incident, Plaintiff has suffered damages

      and seeks monetary relief over $75,000.00, and demands judgment for all other relief

      which Plaintiff may be entitled. Plaintiff suffered the following damages and asks to

      be fairly and reasonably compensated for each:

      a. Past Medical Expenses:         Plaintiff has incurred bodily injuries which were caused

          by the incident in question. Plaintiff has incurred medical expenses in the past

          and will continue to incur them in the future.
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     b. Future Medical Expenses:          Plaintiff will continue to incur medical expenses in

        the future as a result of her bodily injuries which were caused by the incident in

        question.

     c. Past Physical Pain: Plaintiff has endured severe and constant physical pain in the

        past and will endure pain in the future.

     d. Future Physical Pain: Plaintiff will continue to endure severe and constant

        physical pain in the future.

     e. Past Mental Anguish: Plaintiff has endured mental anguish in the past as a result of

        her bodily injuries which were caused by the incident in question.

     f. Future Mental Anguish: Plaintiff will endure future mental anguish as a result of her

        bodily injuries which were caused by the incident in question.

     g. Past Impairment: Plaintiff has endured physical impairment in the past as a result of

        her bodily injuries which were caused by the incident in question.

     h. Future Impairment: Plaintiff will continue to suffer physical impairment in the future

        as a result of her bodily injuries which were caused by the incident in question.

     i. Disfigurement:      Plaintiff has suffered and will continue to suffer and endure

        disfigurement as a result of her bodily injuries which were caused by the incident in

        question.

     j. Past Lost Wages or Earning Capacity:           Plaintiff has incurred lost wages or wage

        earning capacity in the past.

     k. Future Lost Wages or Earning Capacity:           Plaintiff has incurred lost wages or wage

        earning capacity in the future.




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                                                 X.
                   CLAIM FOR PREJUDGMENT AND POST-JUDGMENT INTEREST


22.    Plaintiff claims all lawful prejudgment and post-judgment interest on the damages

suffered by her.

                                            XI.
                                  PRESERVATION OF EVIDENCE

23.    Plaintiffs hereby request and demand that Defendant Allstate and Chohan preserve and

maintain all evidence pertaining to any claim or defense related to the incident that made the basis

of this lawsuit, or the damages resulting therefrom, including photographs; videotapes; audiotapes;

recordings; vehicle downloads, log books, GPS tracking date, business and medical records; injury

reports; investigative reports; and other information related to the occurrence in question and the

injuries and damages resulting therefrom. Failure to maintain such items will constitute spoliation

of the evidence.

                                              XII.
                                          JURY DEMAND

24.    Plaintiff requests that a jury be convened to try the factual issues in this cause.

                                               XIII.
                                              PRAYER

25.    WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited

       to appear and answer herein and that upon the trial of this cause that Plaintiff has

       judgment against Defendants, jointly and severally, for all of her damages as set out

       herein, pre-judgment interest at the highest legal rate allowed by law, post-judgment

       interest at the highest legal rate allowed by law, all costs of court, punitive damages,

       and for such other and further relief, both general and special, either at law or in

       equity, to which Plaintiff may be justly entitled.
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                                 Respectfully submitted,

                                 TED B. LYON & ASSOCIATES, PC




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